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UNITED STATES DISTRICT COURT                                    USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                   DOCUMENT
                                                                ELECTRONICALLY FILED
 KAREEM NISBETT, individually and on                            DOC #:
 behalf of all other persons similarly situated,                DATE FILED: 10/20/2020

                            Plaintiff,
                                                                 20-cv-2384 (MKV)
                     -against-
                                                                       ORDER
 GOFORWARD, INC.,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff initiated this action by filing a complaint on March 18, 2020 [ECF #1]. To date,

however, Plaintiff has not filed proof of service of the summons and complaint. Rule 4(m) of the

Federal Rules of Civil Procedure provides:

               If a defendant is not served within 90 days after the complaint is
               filed, the court – on motion or on its own after notice to the
               plaintiff – must dismiss the action without prejudice against that
               defendant or order that service be made within a specified time.
               But if the plaintiff shows good cause for the failure, the court must
               extend the time for service for an appropriate period.

Accordingly, IT IS HEREBY ORDERED that, by November 4, 2020, Plaintiff shall serve the

summons and complaint on Defendant and shall file proof of such service on ECF. Failure to

comply might result in dismissal with prejudice, pursuant to Rule 41(b) of the Federal Rules of

Civil Procedure, for failure to prosecute this action.

SO ORDERED.
                                                         _________________________________
Date: October 20, 2020                                   MARY KAY VYSKOCIL
      New York, NY                                       United States District Judge
